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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14-44901
         LATERRANCE J MATTHEWS

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 12/17/2014.

         2) The plan was confirmed on 03/30/2015.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
10/25/2016, 05/16/2017.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 05/03/2017.

         6) Number of months from filing to last payment: 29.

         7) Number of months case was pending: 31.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $800.00.

         10) Amount of unsecured claims discharged without payment: $11,927.15.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor                $4,257.10
       Less amount refunded to debtor                            $157.10

NET RECEIPTS:                                                                                      $4,100.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $2,900.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                         $172.87
    Other                                                                    $35.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $3,107.87

Attorney fees paid and disclosed by debtor:                     $0.00


Scheduled Creditors:
Creditor                                       Claim         Claim            Claim        Principal      Int.
Name                                Class    Scheduled      Asserted         Allowed         Paid         Paid
BANK OF AMERICA NA               Unsecured            NA         396.46           396.46          53.08       0.00
CBCS                             Unsecured         338.51           NA               NA            0.00       0.00
CHILDRENS BOOK OF THE MONTH      Unsecured          91.00           NA               NA            0.00       0.00
CITY OF CHICAGO DEPT OF REVENU   Unsecured      4,294.40       6,107.80         6,107.80        817.63        0.00
Comcast                          Unsecured         324.00           NA               NA            0.00       0.00
COMCAST CHICAGO                  Unsecured         324.00           NA               NA            0.00       0.00
FIFTH THIRD BANK                 Unsecured         912.00           NA               NA            0.00       0.00
FIFTH THIRD BANK                 Unsecured         306.00           NA               NA            0.00       0.00
FIFTH THIRD BANK                 Unsecured      1,010.00            NA               NA            0.00       0.00
JEFFERSON CAPITAL SYSTEMS LLC    Unsecured         183.00        183.41           183.41          24.55       0.00
KANE COUNTY                      Unsecured         374.00           NA               NA            0.00       0.00
LTD FINANCIAL SERVICES           Unsecured         396.46           NA               NA            0.00       0.00
MYSTERY BOOK CLUB                Unsecured          89.00           NA               NA            0.00       0.00
PEOPLES ENERGY                   Unsecured         339.00           NA               NA            0.00       0.00
PEOPLES ENERGY                   Unsecured         385.00           NA               NA            0.00       0.00
PEOPLES GAS LIGHT & COKE CO      Unsecured            NA         723.64           723.64          96.87       0.00
ST IL TOLLWAY AUTHORITY          Unsecured         286.00           NA               NA            0.00       0.00
ST IL TOLLWAY AUTHORITY          Unsecured         150.00           NA               NA            0.00       0.00
T-MOBILE/T-MOBILE USA INC        Unsecured            NA           0.00             0.00           0.00       0.00
WEBBANK/FINGERHUT                Unsecured         183.00           NA               NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00               $0.00            $0.00
       Mortgage Arrearage                                      $0.00               $0.00            $0.00
       Debt Secured by Vehicle                                 $0.00               $0.00            $0.00
       All Other Secured                                       $0.00               $0.00            $0.00
 TOTAL SECURED:                                                $0.00               $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                              $7,411.31            $992.13              $0.00


Disbursements:

         Expenses of Administration                             $3,107.87
         Disbursements to Creditors                               $992.13

TOTAL DISBURSEMENTS :                                                                        $4,100.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 07/25/2017                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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